       Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 1 of 18



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
ANNE C. DAUB,
                                                               :
                                    Plaintiff,                     03 Civ. 4402 (GEL) (DF)
                                                               :
                  -against-                                        REPORT AND
                                                               :   RECOMMENDATION
THE GOVERNMENT OF THE PEOPLE’S
REPUBLIC OF CHINA and THE CONSULATE                            :
GENERAL OF CHINA IN NEW YORK CITY,
                                                               :
                                    Defendants.
---------------------------------------------------------------X

TO THE HONORABLE GERARD E. LYNCH, U.S.D.J.:

                                             INTRODUCTION

        Plaintiff Ann C. Daub (“Plaintiff”) commenced this action against the Government of the

People’s Republic of China (“China”) and the Consulate General of China in New York City

(the “Consulate”) (collectively, “Defendants”) for personal injuries she suffered when she fell

over steel beams negligently stacked in front of the entrance to the Consulate.

        On November 9, 2006, the Court (Lynch, J.) granted a default judgment against

Defendants and referred the matter to me for the purpose of conducting a damages inquest. For

the reasons that follow, I recommend that Plaintiff be awarded damages, as calculated below, on

the default judgment against Defendants.
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 2 of 18



                                         BACKGROUND

       A.      Plaintiff’s Injury

       For the convenience of the reader, the relevant facts, as set forth in this Court’s previous

Report and Recommendation, are largely repeated here, with the addition of certain facts

regarding Plaintiff’s surgical treatment for her injury.1

       Plaintiff was born on July 16, 1931. (Affidavit of Ann C. Daub, sworn to Feb. 12, 2005

(“2/12/05 Daub Aff.”), at 1, attached to Proposed Findings of Fact and Conclusions of Law,

dated Feb. 17, 2005 (“Proposed Findings”) (Dkt. 13).) On March 8, 2002, at the age of 70,

Plaintiff tripped over one of two steel beams that had been left on the sidewalk outside the

Consulate, landing on her left knee. (See Complaint, dated June 17, 2003 (“Compl.”) (Dkt. 1),

¶¶ 24-25; Proposed Findings ¶ 1; 2/12/05 Daub Aff. at 1; Affidavit of Merit of Ann C. Daub,

sworn to Oct. 21, 2004 (“10/21/04 Daub Aff.”), at 1, attached to Order to Show Cause, issued

Oct. 13, 2006 (“10/13/06 Show Cause Order”) (Dkt. 30).) Plaintiff, a New Jersey resident at the

time, was taken to the emergency room at the Pascack Valley Hospital in Westwood,

New Jersey, where she was diagnosed with a fractured left patella and her knee was

immobilized. (See Proposed Findings ¶ 2; 2/12/05 Daub Aff. at 1; Affidavit of

Dr. Irving M. Etkind, sworn to Feb. 10, 2005 (“Etkind Aff.”), at 2, attached to Proposed




       1
         As noted below, this is the second time this matter has been referred to me to consider
whether Plaintiff should be awarded damages. Plaintiff originally submitted her Proposed
Findings and supporting materials to this Court in 2005, and she continues to rely on the same
materials in connection with her renewed application for damages. (See Letter of Steven E.
Millon, dated Dec. 18, 2006 (“12/18/06 Millon Letter”).)

                                                  2
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 3 of 18



Findings.) Two days later, she returned to the emergency room, complaining of pain and

swelling in her knee. (See Proposed Finding ¶ 3; 2/12/05 Daub Aff. at 1; Etkind Aff. at 2.) On

March 15, 2002, Plaintiff was admitted to Englewood Hospital for “open reduction and internal

fixation” surgery on her left patella. (10/13/06 Show Cause Order at 2; see also Proposed

Findings ¶ 4; 2/12/05 Daub Aff. at 1; Etkind Aff. at 2.) On March 20, 2002, Dr. Jonathan Scherl

performed the surgery, which consisted of open treatment of the left patella with fixation

maintained by the use of “two K-wires and a tension band.” (Proposed Findings ¶ 4; 2/12/05

Daub Aff. at 1; Etkind Aff. at 2.) On March 25, 2002, after 10 days in the hospital, Plaintiff was

transferred to the Kessler Rehabilitation Institute, where she remained until April 6, 2002. (See

Proposed Findings ¶ 5; 2/12/05 Daub Aff. at 2; Etkind Aff. at 2.)

       In the aftermath of her surgery, Plaintiff suffered a series of complications stemming

from her injury, requiring her to make numerous visits to doctors and hospitals. The knee

immobilizer she had been wearing on her left leg prior to her surgery had caused a blister on the

top of her left foot, which subsequently developed into a wound and became infected. (See

Proposed Findings ¶ 6; 2/12/05 Daub Aff. at 2; Etkind Aff. at 3.) Plaintiff received wound

therapy, including an attempted graft of artificial skin over the site of the wound, but the wound

did not heal until September 2002, after Plaintiff underwent further treatment during a one-week

stay at Pascack Valley Hospital. (See Proposed Findings ¶¶ 7-8; 2/12/05 Daub Aff. at 2; Etkind

Aff. at 3.) On December 13, 2002, Plaintiff had surgery to remove the hardware in her left knee.

(See Proposed Findings ¶ 9; 2/12/05 Daub Aff. at 3; Etkind Aff. at 3.) The surgery was

performed by Dr. Scherl at Englewood Hospital. (See Proposed Findings ¶ 9; Daub Aff. at 2.)




                                                 3
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 4 of 18



Following the surgery, x-rays revealed that Plaintiff was developing post-traumatic arthritis in

her left knee. (See Proposed Findings ¶ 10; 2/12/05 Daub Aff. at 3; Etkind Aff. at 4.)

        Plaintiff maintains that she has had persistent pain in her left knee, foot, and ankle ever

since her injury. (See Proposed Findings ¶¶ 3, 8-11, 14-16; 2/12/05 Daub Aff. at 1-3; Etkind

Aff. at 3, 5.) As a result, she cannot wear regular shoes and has difficulty walking, standing, and

bending her left leg. (See Proposed Findings ¶¶ 11, 17, 20; 2/12/05 Daub Aff. at 3; Etkind Aff.

at 4-5.) Because of her injury, Plaintiff does not socialize as much as she used to, and will not

go places that require too much walking. (See Proposed Findings ¶ 20; 2/12/05 Daub Aff. at 3.)

Plaintiff’s condition is permanent and progressive, and will likely require kneecap removal or

replacement surgery in the future. (See Proposed Findings ¶ 21; 2/12/05 Daub Aff. at 3; Etkind

Aff. at 5.)

        B.     Litigation History

        On June 18, 2003, Plaintiff initiated this action against China and the Consulate

(See Compl.) After some initial difficulty effectuating service (see Report and

Recommendation, dated June, 22 2005 (“6/22/05 R&R”) (Dkt. 18), at 4-8, 19-27, adopted by

Order of the Hon. Gerard E. Lynch, dated July 8, 2005 (Dkt. 20)), Plaintiff properly served

Defendants with the Summons and Complaint on June 1, 2006 (see Affidavit for Judgment

by Default of Steven E. Millon, sworn to Aug. 16, 2006 (“8/16/06 Millon Aff.”), at 3, attached to

10/13/06 Show Cause Order; see also Transcript of Proceedings, held on Nov. 9, 2006 before the

Hon. Gerard E. Lynch (“11/9/06 Transcript of Proceedings”) (Dkt. 35), at 4-5 (confirming

propriety of service)). Pursuant to the terms of the Foreign Sovereign Immunity Act (“FSIA”),

Plaintiff allowed for a period of 60 days following the service of the Summons and Complaint


                                                  4
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 5 of 18



(within which the defendants were permitted to interpose an Answer thereto) (see 8/16/06 Millon

Aff. at 3-5), before moving by proposed Order to Show Cause and pursuant to 28 U.S.C.

§ 1608(e) and Fed. R. Civ. P. 55(b)(2) for a default judgment on liability and for a damages

inquest (see 10/13/06 Show Cause Order). Plaintiff supported her motion with sworn affidavits

on the issues of liability and the validity of Plaintiff’s service. (See 8/16/06 Millon Aff.;

10/21/04 Daub Aff.; Affidavit of Service on China of Steven E. Millon, sworn to Aug. 9, 2006,

attached to 10/13/06 Show Cause Order; Affidavit of Service on Consulate of Steven E. Millon,

sworn to Aug. 9, 2006, attached to 10/13/06 Show Cause Order.)

       On November 9, 2006, the court held a hearing on Plaintiff’s motion. (See 11/9/06

Transcript of Proceedings.) Defendants failed to appear at or prior to the hearing and, pursuant

to Rule 5(B)(2) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1608(e), Judge Lynch

directed that Plaintiff be granted judgment on liability. (See 11/9/06 Transcript of Proceedings

at 5; see also Order of the Hon. Gerard E. Lynch, dated May 11, 2007 (Dkt. 36).) Thereafter,

Judge Lynch referred the matter to me for the purpose of conducting an inquest concerning

Plaintiff’s alleged damages. (See Order of Reference to a Magistrate Judge, dated Nov. 9, 2006

(Dkt. 31); 11/9/06 Transcript of Proceedings at 5.)

       I issued a Scheduling Order with respect to the damages inquest, requiring Plaintiff to

serve and file Proposed Findings of Fact and Conclusions of Law no later than December 22,

2006. (See Scheduling Order for Damages Inquest, dated Nov. 22, 2006 (Dkt. 34).) In that

Order, I cautioned Defendants that if, by January 22, 2007, they did not respond to Plaintiff’s

submissions or contact my chambers in writing to request an in-court hearing, it would be my

intention to issue a report and recommendation on the basis of Plaintiff’s written submissions


                                                  5
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 6 of 18



alone. (See id.) On December 19, 2006, Plaintiff resubmitted her Proposed Findings with a

sworn affidavit averring to the validity of Plaintiff’s service. (See 12/18/06 Millon Letter;

Affirmation of Paulette McFarlane, sworn to Dec. 18, 2006, attached to 12/18/06 Millon Letter.2)

To date, Defendants have filed no response to Plaintiff’s submissions, nor have they contacted

my chambers to request a hearing. I therefore make my recommendation based solely on

Plaintiff’s submissions.

                                           DISCUSSION

I.     APPLICABLE LEGAL STANDARDS

       A.        The Court’s Source of Subject Matter Jurisdiction
                 Derives from the Tort Exception to the FSIA.

       The FSIA, 28 U.S.C. §§ 1330, 1603-11, provides this Court’s sole source of subject

matter jurisdiction over claims against a foreign state. Argentine Repub. v. Amerada Hess

Shipping Corp., 488 U.S. 428, 443 (1989). The Act confers immunity on “foreign states,”

preventing the Court from exercising subject matter jurisdiction, unless one of the Act’s

enumerated exceptions to immunity applies. 28 U.S.C. §§ 1604-07; see also Verlinden B.V. v.

Cent. Bank of Nigeria, 461 U.S. 480, 485 n.5 (1983). The Act also confers immunity on an

“agency or instrumentality” of a foreign state, treating such an entity as a separate “foreign state”

for the purpose of determining whether it is entitled to immunity. See 28 U.S.C. § 1603(a)-(b)

(defining “foreign state,” for immunity purposes, as either a foreign state, a foreign state’s

political subdivision, or a foreign state’s agency or instrumentality that is a “separate legal

person” from the foreign state). For a personal injury case such as this one, however, the FSIA

contains an exception to immunity that gives the Court subject matter jurisdiction over actions

       2
           See supra n.1.

                                                  6
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 7 of 18



arising out of certain torts committed by the foreign state or its agents in the United States. See

28 U.S.C. § 1605(a)(5). In particular, the Act withdraws immunity for tort claims in which

money damages are sought against a foreign state for personal injury or damage to property,

unless the claim is based on the performance of a “discretionary function” or “aris[es] out of

malicious prosecution, abuse of process, libel, slander, misrepresentation, deceit, or interference

with contract rights.” Id. Neither of these two limits on the tort exception apply here. (See

6/22/05 R&R at 10-15, 28-30 (discussing the applicability of the FSIA and why neither of the

tort exceptions apply in this case).)

       B.      Plaintiff’s Damages Should Be Assessed
               in Accordance with New York Law.

       At an inquest for damages following default judgment in an ordinary diversity case,

federal courts apply the law of the forum in which the court is located. See Brinks Ltd. v. S. Afr.

Airways, 93 F.3d 1022, 1030 (2d Cir. 1996) (citing Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78

(1938)); Gottesman v. Camp N’Vei Ashdod, No. 00 Civ. 5139 (JSM)(RLE), 2003 U.S. Dist.

LEXIS 10429, at *4 (S.D.N.Y. June 11, 2003) (citing Consorti v. Armstrong World Indus., Inc.,

103 F.3d 2, 4 (2d Cir. 1995)), adopted by, Order of the Hon. John S. Martin, dated July 2, 2003

(Dkt. 27). Similarly, the FSIA provides that “[a]s to any claim for relief with respect to which a

foreign state is not entitled to immunity . . . the foreign state shall be liable in the same manner

and to the same extent as a private individual under like circumstances . . . .” 28 U.S.C. § 1606.

This statutory language has been interpreted to mean that “where state law provides a rule of

liability governing private individuals, the FSIA requires the application of that rule to foreign

states in like circumstances.” First Nat’l City Bank v. Banco Para El Comercio Exterior de

Cuba, 462 U.S. 611, 622 n.11 (1983); see also Brinks Ltd., 93 F.3d at 1030 (holding that in cases


                                                  7
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 8 of 18



where the “FSIA provides the sole basis of federal court jurisdiction . . . state law generally

controls . . . .” (citing Barkanic v. Gen. Admin. Of Civil Aviation of the P.R.C., 923 F.2d 957, 959

(2d. Cir. 1991))). Thus, because the accident in this case took place in New York State, New

York law applies.

       Under New York law, the purpose of an award of damages is “to restore the injured

party, to the extent possible, to the position that would have been occupied had the wrong not

occurred.” McDougal v. Garber, 73 N.Y.2d 246, 254 (1989). New York courts have long held

that, in a personal injury case, a “plaintiff is entitled to recover ‘a sum of money which will

justly and fairly compensate the plaintiff for the loss resulting from the injuries sustained.’”

Robinson v. U.S., 330 F. Supp. 2d 261, 290 (W.D.N.Y. 2004) (quoting Kehrli v. City of Utica

482 N.Y.S.2d 189 (4th Dep’t 1984)). Specifically, a “plaintiff’s recovery may include

compensation for his or her pain and suffering, both present and future, impairment of physical

functions or other disability, loss of time and impairment of earning capacity; and expenses of

necessary medical and hospital care and other necessary expenses.” 36 N.Y. Jur. 2d Damages

§ 58; see also Ulrich v. Veterans Admin. Hosp., 853 F.2d 1078, 1082 (2d Cir. 1988); McDougal,

73 N.Y.2d at 251.

II.    PLAINTIFF’S DAMAGES

       A.      Medical Expenses

       Under New York law, “the plaintiff is entitled to recover the amount of his or her

reasonable expenditures for medicines, medical services, and attendance, including hospital bills,

and for the anticipated expense of medical attendance and nursing which is reasonably certain to




                                                  8
      Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 9 of 18



be incurred in the future.” 36 N.Y. Jur. 2d Damages § 92. Plaintiff asserts that her medical bills

for treatment of her injury have, to date, totaled $117,857.60. (See Proposed Findings ¶ 25;

Affidavit of Steven E. Millon, sworn to Feb. 17, 2005 (“2/17/05 Millon Aff.”), at 2, attached to

Proposed Findings.) Specifically, Plaintiff claims to have been charged: (1) $34,977.18 by

Pascack Valley Hospital for initial emergency treatment and subsequent treatment for the staff

infection on her left foot; (2) $39,396.50 by Englewood Hospital for services relating to the open

repair of her fractured patella; (3) $17,374.74 by Kessler Rehabilitation Institute for post

operational rehabilitation services; (4) $21,472.06 by Wellington Regional Medical Center for

wound treatment and attempted skin graft; and (5) $4,637.12 by Dr. Scherl for surgeries

performed and follow-up medical examinations. (See Proposed Findings ¶ 25; 2/17/05 Millon

Aff. at 2.) After careful review of the record, the court confirms that Plaintiff was charged

$17,374.74 by Kessler Rehabilitation Institute and $4,637.12 by Dr. Scherl. (See 2/17/05 Millon

Aff., Exs. J, L.) It appears, however, that Plaintiff has miscalculated the amounts she was

charged by Pascack Valley Hospital, Englewood Hospital, and Wellington Regional Medical

Center. Specifically, it appears from the record presented that Plaintiff was actually charged

$35,803.42 by Pascack Valley Hospital, $39,501.25 by Englewood Hospital, and $10,745.28 by

Wellington Regional Medical Center.3 (See id., Exs. H, I, K.) Based on the documentation in




       3
         Whereas it appears that Plaintiff’s calculations concerning the charges from both
Pascack Valley and Englewood Hospital are only slightly incorrect, Plaintiff’s calculation of the
amount she was charged by Wellington Regional Medical Center appears to have nearly doubled
the actual charge. With respect to her calculations concerning Pascack Valley and Englewood
Hospitals, Plaintiff may have made simple mathematical errors in tabulating long lists of
itemized charges. With respect to Plaintiff’s calculation of charges from Wellington Regional
Medical Center, Plaintiff may have inadvertently added itemized charges together with the
amounts set out in the bills as “total charges.” (See 2/17/05 Millon Aff., Ex. K.)

                                                 9
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 10 of 18



the record, I recommend that Plaintiff be awarded $108,061.81 to compensate her for past

medical expenses.4

       Additionally, Plaintiff has presented uncontested evidence that her condition is

permanent and progressive, and that it will likely require kneecap removal or replacement

surgery in the future. (See Proposed Findings ¶ 21; 2/12/05 Daub Aff. at 3; Etkind Aff. at 5.)

Plaintiff has also submitted evidence demonstrating that the future cost of knee removal or knee

replacement surgery, including post-operative care and therapy, will approximate $15,000. (See

Proposed Findings ¶ 22; Etkind Aff. at 5.) I find it to be reasonably certain that Plaintiff will

incur future medical expenses in the amount of $15,000, and I therefore recommend that Plaintiff

be awarded this amount, as well.

       B.      Pain and Suffering

       While calculation of strict economic loss, such as past medical expenses, can be fairly

straightforward, calculating damages for pain and suffering “is an inherently imprecise and

difficult undertaking.” Aviles v. Q.P.N. Productions, Inc., No. 05 Civ. 2830 (CBA)(JMA), 2006

U.S. Dist. LEXIS 63327, at *8 (E.D.N.Y. Sept. 6, 2006). Nevertheless, it is the Court’s

responsibility “to ensure ‘that the damage award does not exceed that which could be sustained

       4
          Plaintiff concedes that most of her medical expenses have been already paid for by
“Medicare and AARP.” (See 2/17/05 Millon Aff. at 2.) Nevertheless, she claims that she is
entitled to recover these costs. (Id.) Under New York law, in a personal injury action, a plaintiff
may not recover from a defendant the cost of medical care that is paid for by a collateral source,
such as insurance. N.Y. C.P.L.R. § 4545(c). This rule, however, does not apply to payments
made by Medicare, or “where the collateral-source payor is entitled by law to a lien against
recovery by the plaintiff.” N.Y. C.P.L.R. § 4545, Practice Commentaries at C4545:2. Here,
Plaintiff’s medical bills primarily were paid for by Medicare. (See 2/17/05 Millon Aff.,
Exs. H-L.) Moreover, Plaintiff’s attorney states, in a sworn affidavit, that any damages awarded
by the Court for past medical expenses would be subject to a lien by Medicare and AARP. (Id.
at 2.) Accordingly, there would appear to be no basis for reducing Plaintiff’s award for past
medical damages under New York law.

                                                 10
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 11 of 18



were the case before the highest court of the state whose substantive law gives rise to the

claim.’” Martello v. Boardwalk Enter., Inc., 748 F.2d 740, 750 (2nd Cir. 1984) (quoting

Hassle v. Iowa Pub. Serv. Co., 559 F.2d 468, 472 (8th Cir. 1977)). Under New York law, when

calculating damages for pain and suffering, “awards approved in similar cases determine what is

fair or reasonable compensation.” Aviles, 2006 U.S. Dist. Lexis 63327, at *8 (citing N.Y.

C.P.L.R. § 5501(c)); see also Gasperini v. Ctr. For Humanities, Inc., 518 U.S. 415, 425 (1996)

(“To determine whether an award ‘deviates materially from what would be reasonable

compensation,’ New York state courts look to awards approved in similar cases.”). In

conducting inquests for damages in personal injury cases, federal courts have consistently

applied this comparative approach. See, e.g., Gottesman, 2003 U.S. Dist. LEXIS 10429, at

*7-*8 (finding that an award of $200,000 was consistent with cases involving young women

with similarly fractured ankles).

       Plaintiff contends that an award of $375,000 for past pain and suffering and $375,000 for

future pain and suffering would be reasonable in her case. (See Proposed Findings ¶ 27; 2/17/05

Millon Aff. at 6.) In support of that proposition, Plaintiff has provided the Court with references

to damage awards in certain cases that she argues are closely analogous to hers. (2/17/05 Millon

Aff. at 3-6; id., Ex. M.) The Court has reviewed these awards, as well as others in cases that the

Court has identified through its own survey of recently reported New York jury verdicts. The

Court’s survey was not meant to be exhaustive, but rather to create the basis for an informed

opinion of what constitutes reasonable compensation under the circumstances.

       In its own survey, the Court restricted its search to New York State cases: (1) decided

within approximately the last 10 years; (2) in which the plaintiff had suffered a fractured patella



                                                11
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 12 of 18



requiring surgical intervention, typically by open reduction with internal fixation; and (3) in

which damages were determined after trial, as opposed to in settlement. Although the damages

awards for past pain and suffering ranged, in these cases, from a low of $40,000 to a high of

$1 million, most fell within the range of $175,000 to $325,000, with $250,000 being the most

commonly awarded amount. In order to avoid an aberrational result, the Court eliminated from

its consideration three cases that appeared to deviate from the norm: two in which the awards

were unusually low, and one in which the award was unusually high.5

       The remaining eight cases that the Court considered include: Hoerner v. Chrysler Fin.

Co., 21 A.D.3d 1254, 2005 N.Y. Slip Op. 07016 (4th Dep’t Sept. 30, 2005) (reducing jury award

from $375,000 to $250,000 for past pain and suffering, and from $1,000,000 to $250,000 for

future pain and suffering); Alvarado v. City of N.Y., 287 A.D.2d 296, 2001 N.Y. Slip Op. 07747

(1st Dep’t Oct. 11, 2001) (reducing jury award from $900,000 to $250,000 for past pain and

suffering, and from $400,000 to $150,000 for future pain and suffering); Cunningham v. Q Plus

Photo Corp., No. 017364/00, 2005 WL 2402636, N.Y. Jury Verdict Rev. & Analysis, Vol. 22,

Issue 6 (N.Y. Sup. Ct., Bronx County, Jan. 2005) (awarding plaintiff $200,000 for past pain and

suffering and $269,999 for future pain and suffering); Li v. City of N.Y., No. 104445/99, 2003

WL 23854741, N.Y. Jury Verdict Rev. & Analysis, Vol. 21, Issue 3 (N.Y. Sup. Ct., New York

       5
         The Court excluded the following cases from its consideration: Archer v. Pro-Services
Assoc., No. 017771/99, 2002 WL 1918808, N.Y. Jury Verdict Rep., Vol. XIX, Issue 50 (N.Y.
Sup. Ct., Westchester County, Mar. 13, 2002) (awarding plaintiff $40,000 for past pain and
suffering and $20,000 for future pain and suffering); Costantino v. Yorkshire Towers Co., No.
108758/97, 1999 WL 33484343, N.Y. Jury Verdict Rep., Vol. XVI, Issue 49 (N.Y. Sup. Ct.,
New York County, Feb. 26, 1999) (awarding plaintiff $50,000 for past pain and suffering and
$50,000 for future pain and suffering); and Perez de Atoa v. City of N.Y., No. 21354/94, 2002
WL 31887352, N.Y. Jury Verdict Rep., Vol. XX, Issue 18 (N.Y. Sup. Ct., Bronx County, May 7,
2002) (awarding plaintiff $1,000,000 for past pain and suffering and $1,500,000 for future pain
and suffering).

                                                 12
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 13 of 18



County, Oct. 10, 2003) (awarding plaintiff a total of $650,000 for past and future pain and

suffering)6; Kleinstein v. City of N.Y., No. 12567/94, 2002 WL 481059, N.Y. Jury Verdict Rep.,

Vol. XIX, Issue 33 (N.Y. Sup. Ct., New York County, Jan. 14, 2002) (awarding plaintiff

$250,000 for past pain and suffering and $275,000 for future pain and suffering); Sheppard v.

City of N.Y., No. 101352/95, 1999 WL 33489212, N.Y. Jury Verdict Rep., Vol. XVII, Issue 9

(N.Y. Sup. Ct., New York County, July 8, 1999) (awarding plaintiff $175,000 for past pain and

suffering and $600,000 for future pain and suffering); Reynolds v. City of N.Y., No. 3100/90,

1996 WL 33343663, N.Y. Jury Verdict Rev. & Analysis, Vol. 13, Issue 12 (N.Y. Sup. Ct., New

York County, Sept. 12, 1996) (awarding one plaintiff, who suffered knee injuries, $100,000 for

past pain and suffering and $200,000 for future pain and suffering), overturned on evidentiary

grounds, 254 A.D.2d 159, 1998 N.Y. Slip. Op. 09033 (1st Dep’t Oct. 22, 1998); and

Hutcherson v. N.Y. City Housing Auth., No. 10710/94, 1996 WL 746696, JVR No. 188,725

(N.Y. Sup. Ct., Kings County, Oct. 1996) (reducing jury award from $500,000 for past pain and

suffering and $300,000 for future pain and suffering to a total award of $350,000).7

       Based on the damages specified in these cases, the Court attempted to arrive at an

average figure for both past and future pain and suffering. The Court estimates that the average

award for past pain and suffering in recent, similar cases has been $221,094 and that the average


       6
         The jury verdict report for the Li case does not provide a breakdown as to how much of
the plaintiff’s damages were allocated for past versus future pain and suffering. For purposes of
its own calculations, the Court assumes that $325,000 was awarded for each.
       7
         In Hutcherson, the trial court reduced the jury’s damages awards for past and future
pain and suffering from $500,000 and $300,000, respectively, to a total award of $350,000,
without explaining the breakdown. For its own calculations, this Court assumed that the ratio
between the portions of that award remained constant, and thus assumed that the component of
the award for past pain and suffering was $218,750, and that the component for future pain and
suffering was $131,250.

                                               13
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 14 of 18



award for future pain and suffering has been $15,901 per year,8 for each year remaining in the

plaintiff’s expected life span.

       “Although comparable approved awards from similar cases serve as guideposts for

determining reasonable compensation under New York law, because each plaintiff’s factual

circumstances differ, present and future pain and suffering claims will be unique, thereby

limiting the precedential value of similar cases.” Gottesman, 2003 U.S. Dist. LEXIS 10429, at

*5 (citing Martello, 748 F.2d at 750). In this case, it is reasonable to conclude that Plaintiff was

subjected to considerable pain and suffering immediately after, and in the nine months following,

her accident. During that time, Plaintiff underwent three surgical operations, was an in-patient at

hospitals and rehabilitation clinics for approximately 30 days, and was apparently in severe pain,

despite extensive pain therapy, for a substantial portion of that time. (See Proposed Findings

¶¶ 2-9; 2/12/05 Daub Aff. at 1-3; 2/10/05 Etkind Aff. at 2, 3; 2/17/05 Millon Aff. at 2 (citing

Exs. C-G).) In light of these facts, and after consideration of the facts in similar cases,

I recommend that Plaintiff be awarded $250,000 for past pain and suffering. Although this

amount is somewhat higher than the average calculated by the Court, it is, as noted above, fairly

typical for this type of injury, and the particular facts presented here – specifically including the



       8
          To calculate the average amount awarded for future pain and suffering per year, the
Court divided the total amount awarded each plaintiff for future pain and suffering by that
plaintiffs’ future life expectancy at the time of the verdict. Where plaintiffs’ future life
expectancy was not explicitly mentioned in the decision or the verdict report, the Court
calculated the plaintiff’s life expectancy by using a chart published by the United States
Department of Health and Human Services. See 54 Nat’l Vital Stat. Rep. 14, Tbl. 2-3 (Apr. 19,
2006). In those cases where the plaintiff’s age at verdict was not immediately apparent, see
Alvarado, Li, and Reynolds, cited above, the Court used the best information available to
determine plaintiffs’ approximate age at verdict. The Court then calculated the average of these
per annum awards.

                                                 14
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 15 of 18



fact that Plaintiff suffered some complications following her initial treatment – justify an upward

adjustment.

        As for Plaintiff’s expected future pain and suffering, based on the Court’s consideration

of the evidence, including the sworn affidavit of a medical expert (Dr. Etkind), the Court finds

that Plaintiff will continue to suffer, and that her life style has been partially impaired, due to her

injury. Specifically, it appears that Plaintiff will live with persistent pain in her left knee, foot,

and ankle. (See Proposed Findings ¶¶ 3, 8-11, 14-16; 2/12/05 Daub Aff. at 1-3; Etkind Aff.

at 3, 5.) Plaintiff explains that she can no longer wear regular shoes and has difficulty walking,

standing, and bending her left leg. (See Proposed Findings ¶¶ 11, 17; 2/12/05 Daub Aff. at 3;

Etkind Aff. at 4-5.) As a result of these difficulties, Plaintiff does not go out as frequently as she

did before her accident, and avoids going places that require too much walking. (See Proposed

Findings ¶ 20; 2/12/05 Daub Aff. at 3.) Finally, according to the uncontested evidence, Plaintiff

is developing post-traumatic arthritis in her left knee, and will likely require kneecap removal or

replacement surgery in the future. (See Proposed Findings ¶¶ 10, 21; 2/12/05 Daub Aff. at 3;

Etkind Aff. at 4, 5.)

        Although awards for future pain and suffering should not be made purely on a “unit-of-

time basis,” see Furey v. U.S., 458 F. Supp. 2d 48, 56 (N.D.N.Y. 2006) (noting that an award

made on a unit-of-time basis “is at best an estimate” (citing Paley v. Brust, 21 A.D.2d 758, 758

(1st Dep’t 1964))), where injuries or disabilities suffered are considered permanent, the period of

time the plaintiff is expected to live should be taken into consideration when calculating

damages for future pain and suffering, see N.Y. Pattern Jury Instr. § 2:281 (Dec. 2006) (“If you




                                                   15
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 16 of 18



find that the injuries or disabilities are permanent, you should take into consideration the period

of time that the plaintiff can be expected to live.”).

       Plaintiff was 75 years old in November 2006, when Judge Lynch entered judgment in her

favor in this case. (See 2/12/05 Daub Aff. at 1.) According to the United States Department of

Health and Human Services (see chart referenced in n.8, supra), Plaintiff’s life expectancy at

that time was 12.5 years.9 By simply applying the $15,901 average per annum award for future

pain and suffering derived by the Court from similar cases, Plaintiff would be entitled to an

award for her future pain and suffering of approximately $198,763. Yet, considering the

significance of the impact that the injury is likely to have on Plaintiff throughout the duration of

her life span, I recommend that this amount also be increased, and that she be awarded $250,000

for this component of her damages claim. An increase here is particularly warranted because of

the likelihood that Plaintiff will require kneecap removal or replacement surgery in the future,




       9
          The Court notes that Plaintiff, a longtime smoker, has suffered from various systemic
medical problems, including peripheral vascular disease and chronic obstructive pulmonary
disease. (See, e.g., 2/17/05 Millon Aff., Ex. D (Englewood Hospital and Medical Center:
Report of Operation, dated Mar. 20, 2002); id., Ex. E (Kessler Institute for Rehabilitation:
History & Physical Examination, dated Mar. 25, 2002 (“History & Physical Examination”)).)
There is no evidence in the record, however, indicating that these conditions would have a
measurable effect on her future life expectancy. Nor is there evidence in the record suggesting
that these conditions, which existed prior to Plaintiff’s fall, themselves caused a loss of
enjoyment of life. Indeed, according to her medical records, Plaintiff was independent in all
activities of daily life and mobility, prior to her fall. (See 2/17/05 Millon Aff., Ex. E (History &
Physical Examination).)

                                                  16
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 17 of 18



which will increase the amount of future pain and suffering she will endure beyond that of

plaintiffs with similar injuries who did not require future operations.10

                                          CONCLUSION

       For the foregoing reasons, I recommend that judgment for Plaintiff be entered against

each Defendant, jointly and severally, in the total amount of $623,061.81. Specifically, I

recommend Plaintiff be awarded $108,061.81 for past medical expenses, $15,000 for future

medical expenses, $250,000 for past pain and suffering, and $250,000 for future pain and

suffering.

       Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil

Procedure, the parties shall have ten (10) days from service of this Report to file written

objections. See also Fed. R. Civ. P. 6. Such objections, and any responses to objections, shall be

filed with the Clerk of Court, with courtesy copies delivered to the chambers of the Honorable

Gerard E. Lynch, United States Courthouse, 500 Pearl Street, Courtroom 68, New York, New

York, 10007, and to the chambers of the undersigned, United States Courthouse, 500 Pearl

Street, Room 525, New York, New York, 10007. Any requests for an extension of time for

filing objections must be directed to Judge Lynch. FAILURE TO FILE OBJECTIONS WITHIN

TEN (10) DAYS WILL RESULT IN A WAIVER OF OBJECTIONS AND WILL PRECLUDE

APPELLATE REVIEW. See Thomas v. Arn, 474 U.S. 140, 155 (1985); IUE AFL-CIO Pension

Fund v. Herrmann, 9 F.3d 1049, 1054 (2d Cir. 1993); Frank v. Johnson, 968 F.2d 298, 300 (2d


       10
           Of the eight cases considered by the Court in its calculations, only three involved
plaintiffs who claimed to possibly need future knee replacement surgery as a result of their
injury, see Hoerner, Reynolds, and Sheppard, cited above, and all three involved plaintiffs who
were younger than Plaintiff, and thus less likely to face a difficult recovery from the anticipated
operation.

                                                 17
     Case 1:03-cv-04402-GEL-DCF Document 37 Filed 07/26/07 Page 18 of 18




Cir. 1992); Wesolek v. Canadair Ltd., 838 F.2d 55,58 (2d Cir. 1988); McCarthy v. Manson, 7 14

F.2d 234,237-38 (2d Cir. 1983).

Dated: New York, New York
       July 26,2007

                                                  Respectfully submitted,



                                                      d4*
                                                  DEBRA FREEMAN
                                                  United States Magistrate Judge


Copies To:

Hon. Gerard E. Lynch, U.S.D.J.

Steven E. Millon, Esq.
Maxwell S. Pfeifer, Esq.
714 East 241st Street
Bronx, NY 10470

Consulate General of the People's Republic of China
520 12th Avenue
New York, NY 10036

The Embassy of the People's Republic of China
2300 Connecticut Avenue, N.W.
Washington, DC 20008

David S. Jones, Esq.
Assistant United States Attorney
86 Chambers Street, 3rd Floor
New York, NY 10007
